                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 UNITED STATES OF AMERICA,                            )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )      No. 10-00244-02-CR-W-DW
                                                      )
 BRADLEY COOK,                                        )
                                                      )
                 Defendant.                           )
                                           ORDER

         Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation (Doc.
407) to Deny Defendant Bradley Cook’s (the "Defendant") Motion to Dismiss Count II of the
Indictment as Unconstitutionally Vague as Interpreted and Applied by the Government (Doc. 117).
The Defendant filed Objections to the Report and Recommendation (Doc. 412), and the Government
filed a Response (Doc. 413). After an independent review of the record, the applicable law and the
parties’ arguments, the Court ADOPTS the Magistrate’s Report and Recommendation (Doc. 407).
Accordingly, the Court ORDERS that the Magistrate’s Report and Recommendation (Doc. 407) be
attached to and made a part of this Order, and DENIES the Defendant’s Motion to Dismiss Count
II of the Indictment as Unconstitutionally Vague as Interpreted and Applied by the Government
(Doc. 117).




 Date:     June 17, 2013                                       /s/ Dean Whipple
                                                                    Dean Whipple
                                                             United States District Judge




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